                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-1685-RM-NRN


ROCKY MOUNTAIN GUN OWNERS,
NATIONAL ASSOCIATION FOR GUN RIGHTS, and
CHARLES BRADLEY WALKER,

       Plaintiffs,

v.

THE TOWN OF SUPERIOR, a Colorado municipality

       Defendant.

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   NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
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       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs ROCKY

MOUNTAIN GUN OWNERS, NATIONAL ASSOCIATION FOR GUN RIGHTS, and

CHARLES BRADLEY WALKER hereby give notice that this action is voluntarily dismissed.

Defendant THE TOWN OF SUPERIOR has not served an answer or motion for summary

judgment in this action. Accordingly, Plaintiffs notice voluntary dismissal of this action,

without prejudice. See Fed. R. Civ. P. 41(a)(1)(B).

/s/ Barry K. Arrington
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Attorneys for Plaintiffs

                                CERTIFICATE OF SERVICE

        I hereby certify that on October 12, 2022, I electronically filed a true and correct copy of
the foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing via email to parties of record.

/s/ Barry K. Arrington
_______________________
Barry K. Arrington




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